          Case 6:17-bk-05371-CCJ         Doc 24-4     Filed 10/20/19     Page 1 of 2



                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION
                                www.flmb.uscourts.gov


In re:                                                     Case No. 6:17-bk-05371-CCJ
                                                           Chapter 7
Giovanni Nicholas Livera, Jr and
Tracy Livera,
                       Debtor(s). /


                         NOTICE OF PRELIMINARY HEARING

PLEASE TAKE NOTICE that a Hearing has been set before the Honorable Cynthia C. Jackson,
United States Bankruptcy Judge, on Tuesday, November 12, 2019 at 2:45 p.m., in Courtroom
6D, 6th Floor, at the United States Bankruptcy Court, George C. Young Federal Building, 400 W.
Washington St., Orlando, FL 32801, to consider and act upon the following:

Chapter 7 Trustee’s Motion to Approve Consented Short Sale of Non-Homestead Real
Property Free and Clear of Liens, Claims, Encumbrances, and Interests Pursuant to 11 U.S.C.
§ 363(b), (f), and (m) (Docket No. 24)

and transact such other business as may properly come before the Court.
All exhibits must be pre-marked and listed in accordance with Local Rule 9070-1.
Appropriate Attire: You are reminded that Local Rule 5072(b)(16) requires that all persons
appearing in court should dress in appropriate business attire consistent with their financial
abilities. Among other things, a coat and tie are appropriate for a man; a dress or pants suit is
appropriate for a woman.

RESPECTFULLY SUBMITTED this October 20, 2019.

                                                    /s/ Kristen L. Henkel
                                                    Kristen L. Henkel, Esquire
                                                    Florida Bar No. 81858
                                                    M. E. Henkel, P.A.
                                                    3560 S. Magnolia Ave.
                                                    Orlando, Florida 32806
                                                    Telephone: 407-438-6738
                                                    Facsimile : 407-858-9466
                                                    khenkel@mehenkel.com
           Case 6:17-bk-05371-CCJ         Doc 24-4     Filed 10/20/19     Page 2 of 2



                                CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on October 20, 2019, a true and correct copy of the foregoing
Notice of Hearing, has been filed with the Court and furnished via electronic noticing through
the CM-ECF System to all parties requesting such notice and via first class U.S. Mail postage-
prepaid, to all parties-in-interest not receiving electronic notices, who are listed in the matrix
attached hereto and obtained from the U. S. Clerk of the Bankruptcy Court on October 20, 2019.

Additional copies furnished by Certified Mail to: Wells Fargo Bank, N.A., c/o Neil Pritchard,
Portfolio Manager, Wells Fargo Credit Management Group, Two Wells Fargo Center, 301 South
Tryon St., T-30 MAC D1130-305, Charlotte, NC 28288; and Wells Fargo Bank, N.A. c/o Carrie
Meyer, Vice President, 4101 Wiseman Boulevard, Building 203, 1st Floor, MAC: T7416-01H,
San Antonio, TX 78251, Judgment Creditor; and John M. Brennan, Esq., Gray Robinson, P.A.,
P.O. Box 3068, Orlando, FL 32802-3068, Attorney for Judgment Creditor.

                                                            /s/ Kristen L. Henkel
                                                            Kristen L. Henkel
